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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

CENTRAL STATES, SOUTHEAST AND                          )
SOUTHWEST AREAS PENSION FUND;                          )
and ARTHUR H. BUNTE, JR., as Trustee,                  )
                                                       )   Case No. 17-cv-4898
                     Plaintiffs,                       )
                                                       )   Judge: Gary Feinerman
          v.                                           )
                                                       )   Magistrate Judge: Sidney Schenkier
JSD, LLC, an Ohio limited liability company,           )
                                                       )
                     Defendant.                        )

                                          JUDGMENT ORDER

          This matter coming before the Court on Plaintiffs’ Motion for Entry of Default and

Default Judgment, and the Court having reviewed the Motion along with the supporting

materials, hereby FINDS, ADJUDGES, and ORDERS as follows:

          1.         That Defendant JSD, LLC (“JSD”) is adjudged to be in default.

          2.         That a default judgment is entered against JSD.

          3.         That Plaintiffs, Central States, Southeast and Southwest Areas Pension Fund and

Arthur H. Bunte, Jr., Trustee, have and recover judgment for delinquent contributions from and

against Builders Supply in the total amount of $3,776,228.17. This total amount consists of: (i)

withdrawal liability in the principal amount of $2,504,618.50; (ii) $635,058.96 in interest on the

withdrawal liability through August 10, 2017; (iii) $635,058.96 in doubled interest; (iv)

attorneys’ fees in the amount of $1,026.75; and (v) costs in the amount of $465.00.

          4.         That Plaintiffs are awarded post-judgment interest on the judgment balance noted

in paragraph 3 at an annualized interest rate equal to two percent (2%) plus the prime interest




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rate established by JPMorgan Chase Bank, NA for the fifteenth (15th) day of the month for

which interest is charged and shall be compounded annually.

          5.         That Plaintiffs are awarded execution for collection of the judgment and costs

granted.



Dated: __8/29/2017                               Enter:____________________________________
                                                        Honorable Gary Feinerman
                                                        United States District Judge




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